             Case 3:23-md-03084-CRB          Document 3371        Filed 06/27/25      Page 1 of 3




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10
                                      UNITED STATES DISTRICT COURT
11                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION

13      IN RE: UBER TECHNOLOGIES, INC.,
        PASSENGER SEXUAL ASSAULT                           )      No. 3:23-md-03084-CRB
14
        LITIGATION                                         )
15                                                         )      NOTICE OF FILING OF NEW ACTION
                                                           )
16                                                         )
                                                           )
17                                                         )
        This document relates to:                          )
18                                                         )
                                                           )
19
        ARPITKUMAR PATEL v. UBER                           )
20      TECHNOLOGIES, INC., et al., 3:25-                  )
        cv-05287                                           )
21                                                         )
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24
               Notice is hereby given pursuant to Pretrial Order No. 6 (Direct Filing) that the

25     Complaint with Jury Demand in the above-referenced action was filed on June 27, 2025.
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       ///
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     NOTICE OF FILING - 1
          Case 3:23-md-03084-CRB   Document 3371   Filed 06/27/25     Page 2 of 3




 1
        Dated: June 27, 2025                       Respectfully Submitted,
 2
                                                   By: /s/ Ben C. Martin
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     NOTICE OF FILING - 2
          Case 3:23-md-03084-CRB           Document 3371         Filed 06/27/25      Page 3 of 3




 1
                                         CERTIFICATE OF SERVICE
 2
            I hereby certify that on June 27, 2025, I electronically transmitted the foregoing NOTICE OF
 3
     FILING OF NEW ACTION to the Clerk’s Office using the CM/ECF System for filing thereby
 4

 5   transmitting a Notice of Electronic Filing to all CM/ECF registrants.

 6                                                               /s/ Ben C. Martin
 7
                                                                 Ben C. Martin

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     NOTICE OF FILING - 3
